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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.,

                  Plaintiff,

      v.                                      Civ. No. 1:23-1615 (CKK)

XAVIER BECERRA, U.S. Secretary of
Health & Human Services; et al.,

                  Defendants.


              PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Merck & Co., Inc., respectfully moves the Court, pursuant to Rule 56

of the Federal Rules of Civil Procedure, for an order granting summary judgment in

its favor on the grounds that no genuine issue as to any material fact exists and that

Plaintiff is entitled to judgment as a matter of law. In support of this motion, the

Court is respectfully referred to Plaintiff’s Memorandum of Points and Authorities,

its Statement of Undisputed Material Facts, the declaration of Patrick Davish, and

the declaration of Jacob Roth. A proposed order is also attached.

Dated: July 11, 2023                   Respectfully submitted,

                                       /s/ Yaakov M. Roth
                                       Yaakov M. Roth (D.C. Bar 995090)
                                       Megan Lacy Owen (D.C. Bar 1007688)
                                       John Henry Thompson (admission pending)
                                       Louis J. Capozzi III (admission pending)
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                                       Merck & Co., Inc.
